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                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MONT ANA                    FILED
                                                                           JUN 2 0 2017
                                HELENA DIVISION
                                                                      Clerk, U.S. District Court
                                                                        District Of Montana
                                                                               Helena
 UNITED STATES OF AMERICA,                     CR 17-07-H-SEH

                            Plaintiff,         ORDER

          vs.

JEFF ALLEN TRASK,
CHASE RYAN STORLIE,
HECTOR RICARDO GONZALEZ,
and CHRISTIAN JESUS RUIZ,

                            Defendants.

      The Court conducted a hearing on Defendant Ruiz's Motion to Suppress 1 on

June 20, 2017, at the Paul G. Hatfield Courthouse, Helena, Montana.

      Upon the record made in open court,

      ORDERED:

      Defendant Ruiz's Motion to Suppress2 is DENIED.



      1
          Doc. 70.
      2
          Doc. 70.
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          FURTHER ORDERED:

          All unexpired deadlines set forth in the Court's Orders ofMay 26, 2017, 3

and June 7, 2017, 4 including the trial set for July 17, 2017, remain in full force and

effect.                   ~
                        'jnV
          DATED this _o<"_u day of June, 2017.




                                                 United States District Judge




      3
          Doc. 49.
      4
          Doc. 80.

                                           -2-
